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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )
              vs.                              )                8:06CR310
                                               )
KYLE R. STEENBLOCK,                            )                 ORDER
                                               )
                     Defendant.                )




       Before the court is defendant’s Motion for Leave to File Rule 12(b)(3) Motions
Out of Time [43]. Pretrial motions were due October 16, 2006. For lack of good cause
shown,

       IT IS ORDERED:

       1.     Motion for Leave to File Rule 12(b)(3) Motions Out of Time [43] is denied.

       2.     The Motion to Suppress (Miranda) [41] and Motion to Suppress [42] are
              hereby stricken.

Pursuant to NECrimR 57.2, a party may appeal this order by filing a "Statement of
Appeal of Magistrate Judge's Order" within ten (10) days after being served with the
order. The party shall specifically state the order or portion thereof appealed from and
the basis of the appeal. The appealing party shall file contemporaneously with the
statement of appeal a brief setting forth the party's arguments that the magistrate
judge's order is clearly erroneous or contrary to law. The filing of a statement of appeal
does not automatically stay the magistrate judge's order pending appeal. See
NECrimR 57.2(d).

       DATED this 10th day of January, 2007.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
